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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )     No. 16 CR 462-12
      v.                                 )
                                         )     Hon. Rebecca R. Pallmeyer
JOSE PENA a/k/a “Dre”                    )

      GOVERNMENT’S RESPONSE TO DEFENDANT’S SENTENCING
                       MEMORANDUM

      On Mother’s Day, May 11, 2014, in broad daylight, the defendant and three of

his co-defendants waited outside for a “runaway” former gang member, Victim 1.

Between couples with small children, everyday citizens attempting to go about their

business, they waited to carry out their order to “shoot on sight” Victim 1. The fact

that it was Mother’s Day did not matter. Nor did the fact that there were children

running about. The defendant’s role, as a member of the younger circle was to wait

across the street with a loaded .45 caliber pistol for Victim 1 to emerge. When Victim

1 finally did emerge, the defendant carried out that order and shot Victim 1 multiple

times—causing Victim 1 to undergo surgeries and require a colostomy bag for the rest

of his life. The defendant’s age at the time of the shooting does not excuse his decision

to attempt to murder another person. The fact that the defendant states that he

became a “runaway” Latin King (more than one year after he pulled that trigger

multiple times), does not explain why he attempted to murder Victim 1 based upon

Victim 1’s attempt to disassociate himself. Nor can the defendant’s conduct be

explained by a diagnosis of ADHD or the admittedly good upbringing he experienced.
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As such, the government requests that the Court impose a sentence that includes a

term of imprisonment within the defendant’s guideline range.

       I.    Guidelines Calculation

       The government agrees with the PSR’s calculation of a total offense level of 37,

which, when combined with the anticipated criminal history category of I, results in

an anticipated guideline range of 210 to 262 months’ imprisonment as to Count One,

as well as a mandatory consecutive 120 months pursuant to Count Five. See PSR ¶

117.

       II.   Sentencing Recommendation

             A.     A Guideline Sentence Is Sufficient, But Not Greater Than
                    Necessary

       Through his participation in the Latin Kings, the defendant directly

contributed to the violence that permeates the Chicago area and caused devastating

harm to countless individuals. The sentence imposed must reflect both the gravity of

the defendant’s conduct and the magnitude of harm he caused. Finally, the sentence

imposed must provide just punishment and adequate deterrence (both specific and

general). A sentence within the defendant’s guideline range is sufficient, but not

greater than necessary, to comply with the principles set forth in 18 U.S.C. § 3553(a).




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                    1.    The Nature and Circumstances of the Offense
                          Warrant a Guidelines Sentence1

       Pursuant to 18 U.S.C. § 3553(a)(1), the Court must consider “the nature and

circumstances of the offense.” That said, it is impossible to overstate the serious

nature and circumstances of the defendant’s offense.

                          a.     Latin Kings

       The Latin Kings are a highly organized and hierarchical criminal enterprise,

with its own constitution, manifesto, and code of conduct, as well as its own colors,

handshake, salute, emblems, signs, flag, and territories. Territories were divided into

“regions,” which were further divided into “sections” (sometimes called “chapters”).

The highest-ranking member of a section is the “Inca,” and the second highest-

ranking member is the “Cacique.” Below the “Cacique” is the “Chief Enforcer” and

the “Enforcer.”

       There were several regions of the Latin Kings operating in Chicago and the

suburbs of Chicago. One such region was the “Midwest” region. Included within the

Midwest region was the Maywood section of the Latin Kings, which the defendant

joined sometime in approximately March 2014. PSR ¶ 9. For a period of at least one

month, the defendant held the Enforcer position for the younger circle of gang

members. Id. As Enforcer, the defendant supervised non-ranking and lower-ranking

members to commit racketeering acts for that period of time.




1     The Government’s Version contains additional facts regarding the nature and
circumstances of the offense.


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                          b.     Rules and Practices

      The Latin Kings had a rigid set of rules and practices, which were contained

in the gang’s written “manifesto” or “constitution” as well as the Maywood section’s

local rules. In his role as Enforcer, the defendant ensured adherence to these

established rules and practices and enforced discipline for disobedience.

                          c.     Security and Firearms

      One of the gang’s most important rules required members to protect

themselves, other Latin King members, and the gang's territory from its rivals, often

through violence. One of the ways the Latin Kings protected their territory was by

conducting mandatory “security,” which was sometimes referred to as “posting-up.”

That meant that members patrolled their territory, armed with guns, and were

required to shoot to kill any trespassing member of a rival gang, any former member

of the Latin Kings not in good standing, and any other individual that posed a threat.

Members were required to carry guns when they patrolled in their own territory and

also when they traveled to rival territory. As Enforcer, the defendant was responsible

for coordinating security (telling members when and where to show up) and directing

where the firearms used on security were to be located. See Exhibit C to Government’s

Version; Plea Agreement (Dkt. 531 at 5-6).

                          d.     Shoot on Sight Orders and Violations

      Another method the gang used to protect themselves and their power was

issuing standing orders to shoot (also known as “SOS” orders) and beat rival gang

members and former Latin King members, also known as “runaways,” and by

ordering “burns,” “hits,” and “missions,” which were one-time orders to shoot and beat


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specific rival gang members and runaways. The gang’s rules also required violence

against fellow Latin King members. For example, new recruits were initiated into

membership through violent beatings. In addition, the rules provided for mandatory

beatings or “violations” for any member who broke the rules or failed to follow orders.

The message was clear: disobedience would not be tolerated. What these rules and

practices make clear is that violence, shootings, and death were a day-to-day part of

the Latin King lifestyle. As demonstrated in his Facebook posts, the defendant

thoroughly embraced the gang lifestyle and all of its violence. See Exhibits D and E

to Government’s Version; PSR at ¶ 98 (tattoos).

                           e.     As a Maywood Latin King, the Defendant
                                  Conspired to Murder Rival Gang Members, as
                                  Well as Committed Extortion

       As a Maywood Latin King, the defendant further agreed to specific plans to

commit shootings and discussed prior shootings that he personally committed. As

detailed in pages 6-7 of the plea agreement, Paragraphs 25-31 of the PSR, and above,

the defendant participated in the attempted murder of Victim in May 2014 and was

responsible for pulling the trigger.

       As detailed in Paragraphs 32-39 of the PSR, between July 5 and 6, 2014, the

defendant and others conspired to carry out several “hits” or shootings at rival gang

members. On July 5, 2014, the defendant and multiple co-conspirators planned to

commit a shooting at a particular house associated with members of the IGs.2 The




2     The gang would commit the arson of the IG’s vehicle at this location approximately
one week later.


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shooting was called off and rescheduled for the next day (July 6) after law

enforcement saturated the area.

      That next day, July 6, 2014, the defendant attended a gang meeting where he

was voted into the Enforcer position and various members were ordered to do three

shootings that night. See Exhibit B to Government’s Version at 2. Following the

meeting, the defendant left with other gang members when they encountered an

individual they thought might be a rival gang member. Id.; PSR at ¶ 13; Exhibit A to

Government’s Version at 3. The defendant and several of his co-defendants retrieved

a gun and displayed gang signs at the individual. Exhibit A to Government’s Version

at 3. When FBI agents intervened, one of the defendant’s co-defendants, Edgar

Velarde-Saldana, a/k/a “Chapo,” fired multiple shots at law enforcement officers.

      The defendant and other Latin Kings also engaged in acts of extortion,

including by collecting “street tax” from non-gang members who distributed

controlled substances, including cocaine, within the geographical location controlled

by the enterprise, as well as local businesses. See PSR at ¶ 15.

                    2.    Defendant’s History and Characteristics

      Pursuant to 18 U.S.C. § 3553(a)(1), the Court must also consider “the history

and characteristics of the defendant.” As with many defendants, the defendant’s

history and characteristics present both factors in aggravation and mitigation. The

defendant pled guilty pursuant to a plea agreement. He also has little criminal

history and his age at the time of the offense should also be taken into account.

Although the defendant held rank within the gang, he apparently did so for only a

short period of time. A sentence within the defendant’s guideline range takes into


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account the defendant’s history and characteristics, including the defendant’s

leadership role.

                    3.     A Guidelines Sentence is Appropriate                   Upon
                           Consideration of Section 3553(a)(2)

      Pursuant to 18 U.S.C. § 3553(a)(2), the Court must consider the need for the

sentence imposed:

      (A) to reflect the seriousness of the offense, to promote respect for the
          law, and to provide just punishment for the offense;
      (B) to afford adequate deterrence to criminal conduct;
      (C) to protect the public from further crimes of the defendant; and
      (D) to provide the defendant with needed educational or vocational
          training, medical care, or other correctional treatment in the most
          effective manner.

      A sentence within the defendant’s guidelines range adequately reflects the

seriousness of the offense, promotes respect for the law, and provides just punishment

for the offense. Among the offenses brought before the Court, the defendant’s is

among the most serious, especially in this community. There is a significant need for

the sentence imposed to promote respect for the law and provide just punishment.

      Moreover, in a community absolutely shaken by senseless gun violence,

particularly that involving individuals using social media to incite violence and instill

fear (like this defendant), there must be consequences. While the criminal justice

system can only address so many of the ills that cause the violence plaguing this

community, it plays an important role when those responsible for perpetrating the

destruction stand before the Court. Many innocent members of society live in

constant fear. They do not let their children play outside, they do not go out after

dark. They usher their children along what they can only pray are “safe passages” to



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school. There must be a deterrent message sent to those, like this defendant, who

contribute to this environment of fear. A guideline sentence would adequately takes

into account these considerations of deterrence, promoting respect for the law, and

providing just punishment.

              B.     Supervised Release

       The government recommends a sentence that includes a term of two years’

supervised release that includes the terms and conditions recommended in the PSR.3

       III.   CONCLUSION

       For all of the aforementioned reasons, the Court should sentence the defendant

to a term of imprisonment within the defendant’s guideline range.

                                          Respectfully submitted,

                                          JOHN R. LAUSCH, JR.
                                          United States Attorney

                                   By:    s/ Matthew Hernandez
                                          MATTHEW HERNANDEZ
                                          Assistant U.S. Attorney
                                          219 South Dearborn, Fifth Floor
                                          Chicago, Illinois 60604
                                          (312) 353-5300
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3      Pursuant to Paragraphs 112-114, it appears as though the defendant does not have
the ability to pay a fine and therefore the government does not request that one be imposed.


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